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CRIMINAL PROCEEDINGS - Sentencing

      UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

Judge B. Lynn Winmill                 Date: July 15, 2020
Case No. 1:18-cr-401-BLW-3            Deputy Clerk: Jamie Gearhart
and 1:19-cr-135-BLW-2                 Reporter: Brooke Bohr
Place: Boise                          Time: 9:15 – 10:13 a.m.
                                             10:26 – 10:48 a.m.

UNITED STATES OF AMERICA vs COLT MURDOCK SPENCER

Counsel for United States – Christopher Atwood
Counsel for Defendant – Robyn Fyffe
Probation – Tonya McDonald (appearing by phone)

(X)   The Court reviewed the case history. The defendant previously
      pleaded guilty to Count 1 of the 3rd Superseding Indictment
      in case 1:18-cr-401-BLW and Count 1 of the Superseding
      Indictment in case 1:19-cr-135-BLW.
(X)   The Court granted the Government’s oral motion to dismiss
      Count 2 of the Superseding Indictment in case 1:19-cr-135-
      BLW.
(X)   Counsel made sentencing recommendations to the Court.
(X)   Defendant made remarks on his own behalf.
(X)   The Court granted the Government’s motion for 3rd point
      reduction for acceptance of responsibility.
(X)   The Court granted the request for a downward departure.
(X)   The Court adopted the Presentence Report.
(X)   Mixture of methamphetamine calculation:
           Adjusted offense level 27
           Criminal history category III
           Guideline range 87-108 months
(X)   Court addressed 3553(a) factors and finds grounds to
      sentence below the guideline range.

SENTENCE: Defendant is hereby placed on probation for a term of 5
years in each case, all such terms to run concurrently.

The defendant shall pay to the United States a special assessment
of $200 ($100 in each case), which shall be due immediately.

The defendant shall pay to the United States a fine of $1,000 ($500
in each case), which shall be due immediately.

The defendant and co-defendants, David Paul Roberts, Dale Lee
Walker, and Levi Urrabazo shall pay restitution, jointly and
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severally, in the total amount of $165,451 to the Clerk of the
U.S. District Court, 550 W. Fort Street, Suite 400, Boise, Idaho,
83724, in case 1:19CR00135-002.

The court determines the defendant does not have the ability to
pay interest on the restitution. Therefore, the interest on the
restitution is waived.

All monetary penalties are due and payable immediately.

During the term of probation, the defendant shall submit nominal
monthly payments of 10% of gross income, but not less than $25 per
month, unless further modified by the Court.

The defendant shall comply with all mandatory, standard, and
special conditions of probation as outlined in the Sentencing
Recommendation (Dkt. 338).

For a period of 18 months you are restricted to your residence at
all times except for employment; education; religious services;
medical, substance abuse, or mental health treatment; attorney
visits; court appearances; court-ordered obligations; or other
activities as pre-approved by the probation officer.     Location
monitoring technology shall be utilized to monitor this
restriction on the defendant’s movement in the community as well
as other court-imposed conditions of release. The defendant shall
abide by all technology requirements. The cost to be paid in full
by the defendant.


(X)   Defendant advised of penalties for violation of terms and
      conditions of probation.

(X)   Right to appeal explained.
